 

Case 5:20-cv-02235-AB Document 3 Filed 07/02/20 Page 1of1

 

ORIGIN ID:PNEA (610} $84-0700 SHIP DATE: 26JUN20
Maria Martin ACTWGT: 0.90 LB
9024 Craseman Road CAD: 114479659/INET4220
Spa LA 19474 LSENDE
Ippaci
ED STATES, US ENAVAT 8
TO 6105840700

Chinese Communist Party

174 Chang'an Avenue Express.
Xicheng District x
BEIJING, 100032 (CN) §
CHINA, CN 8

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AWB

 

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DESC3:

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COUNTRY MEG: US SIGN; Maria Martin
CARRIAGE VALUE: 0.00 USD THC: 3 159381153
CUSTOMS VALUE: 1.00 USD DT: R

 

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